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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA 3
v. : Case No. 24-CR-371
NICOLE MARIE JOYNER
Defendant. :
ORDER

Pursuant to the motion filed by the United States, it is hereby ordered that the Motion to

Dismiss the Indictment pursuant to Rule 48(a) with prejudice is GRANTED.

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SO ORDERED this YH day of eo. , 2025.

H iORA E. a
Chiéf Judgé, ea States District Court

